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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  United States of America,                 Case No.: 19-cr-20246
                                            Honorable Denise Page Hood
  Plaintiff,
  v.
  D-2 Ricky Handschumacher,

  Defendant.                            /

               GOVERNMENT'S SENTENCING MEMORANDUM

       Ricky Handschumacher was a member of a group of hackers known as “The

Community.” Members of The Community engaged in a fraudulent scheme that

exploited Internet security vulnerabilities through a method known as SIM

hijacking. The scheme began with redirecting a victim’s mobile phone number,

which led to hackers seizing control of the victim’s email and other online accounts.

One goal of this scheme was the theft of cryptocurrencies, such as Bitcoin.

       Over approximately two years, members of The Community stole over fifty

million dollars’ worth of cryptocurrency. Handschumacher personally participated

in the theft of cryptocurrency valued at over seven million dollars.

       Handschumacher’s undisputed guideline range is 78 – 97 months. For the

reasons stated in this memorandum, a sentence of 88 months incarceration—the

midpoint of the range—followed by three years’ supervised release, is “sufficient,
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but not greater than necessary,” pursuant to the purposes of 18 U.S.C. § 3553(a).

I.          BACKGROUND

          A. Introduction to Cryptocurrency

            Cryptocurrencies, also known as virtual currencies or digital currencies, are

online media of exchange. The most famous is Bitcoin, but many others exist—such

as Litecoin and Ethereum. Like traditional currencies, they act as stores of value

and can be exchanged for goods and services. They can also be exchanged for

dollars. Unlike fiat currencies such as the dollar, however, they are untethered from

the traditional banking system and neither issued nor backed by sovereign states.

Their value depends solely on the law of supply and demand.

            Cryptocurrencies’ values fluctuate dramatically, but their popularity

continues to increase.              A 2015 survey found over 100,000 online merchants

accepting Bitcoin. 1            That same year, between 80,000 and 220,000 Bitcoin

transactions occurred each day, “representing over $50 million in estimated daily

volume.” 2

            As the popularity of cryptocurrencies has grown, hackers have honed

strategies to steal them. Victims of cryptocurrency theft have limited recourse

because cryptocurrency transactions are irrevocable—i.e., no bank or other central



1
    See Exhibit 1, Latham & Watkins LLP, Cryptocurrency: A Primer (2015).
2
    Id.

                                                        2
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authority can reverse fraudulent transactions.

   B. Introduction to SIM Hijacking

      SIM hijacking, also known as SIM swapping, is an identity theft technique

that exploits a near-ubiquitous cyber-security weakness: mobile phone numbers.

Mobile phone numbers are, typically, associated with a single device and a single

individual. This has transformed them—and their associated phones—into personal

identification tools. Mobile phone numbers are frequently used as a means of

authentication to access email, social media, banking, and other online accounts.

Two-factor authentication (“2FA”) protocols for many websites involve texting a

security code to a mobile number.        Password resets for online accounts are

commonly executed via text messages to mobile numbers. For some online services,

simply accessing the service via a mobile device associated with a particular

assigned phone number suffices to gain access to an account.

      This transformation of the mobile phone number from a means of

communication to a means of identification parallels the unintended evolution of the

social security number into a default national-ID number. Unsurprisingly, it has led

to another corresponding evolution: hackers seeking to gain control over mobile

phone numbers as a means to assume a victim’s identity.

      The vector for such an attack is typically the victim’s mobile provider.

Sometimes, the assault begins with social engineering: the attacker contacts a mobile


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provider’s customer service, pretends to be the victim, claims to have lost “their”

phone, and then asks for “their” phone number to be associated with a new device.

Alternatively, the attacker (or an associate) bribes a provider’s representative to

either transfer the victim’s number to a new device or turn over data necessary to

associate a new device with the victim’s phone number. This technique is called

SIM hijacking because it is often accomplished by reprograming a phone’s SIM

(Subscriber Identity Module) card. If the attack succeeds, phone calls and text

messages intended for the victim are re-routed to the attacker instead.

         However the hijacking is accomplished, the next steps by the attacker are the

same. Once in control of the victim’s mobile number, the attacker hacks into the

victim’s email by either (1) cracking (or stealing) the password and then requesting

a 2FA code be sent via text message or (2) requesting that the password be reset via

text message. The attacker then seizes control of additional online accounts by

resetting passwords linked to the now compromised email address. Criminals have

used this technique to drain bank accounts, steal cryptocurrency, steal compromising

photographs, or simply to take over social media accounts with usernames a hacker

covets and/or can sell. 3




3Single letter social media accounts such as “@t” or “@x” are common targets. The hackers who stole the “@t” Instagram
account claim to have sold it for approximately $40,000. See also Lorenzo Franceschi-Bicchierari,, The SIM Hijackers, (2018), at
https://motherboard.vice.com/en_us/article/vbqax3/hackers-sim-swapping-steal-phone-numbers-instagram-bitcoin. Other social
media accounts that have been targeted for takeover in this manner include “@rainbow” and “@sex.”

                                                               4
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   C. The Community

       “The Community” was a loosely organized network of computer hackers,

many of whom engaged in SIM hijacking. The group’s members discussed SIM

hijacking on various online forums and over diverse channels of communication.

Broader conversations—such as discussing the manner and means of attacks among

The Community’s members—typically took place on forums such as “OGUsers”

and “Hackforums.” Planning and execution of specific attacks usually took place

via communication platforms such as Discord, Skype, Signal, Wickr, and Telegram.

      A subset of the “The Community” that included defendant Ricky

Handschumacher focused on using SIM hijacking to steal cryptocurrency. Members

of this group had different roles. Some searched through online forums dedicated to

cryptocurrencies, identifying potential victims and gathering the information (such

as mobile phone numbers) necessary to initiate an attack. Others specialized in

reprogramming SIM cards; often these individuals had contacts at mobile phone

providers susceptible to bribes. Other members specialized in the actual account-

takeovers and the transfers of funds.




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II.        OFFENSE CONDUCT

           Ricky Handschumacher pleaded guilty to one count of Conspiracy to Commit

Wire Fraud (18 U.S.C. § 1349). He participated in numerous SIM hijacking attacks

in 2017 and 2018. The exact number of attacks (and their associated losses) is

unknown, but Handschumacher does not dispute that he conspired to attack more

than ten victims that suffered losses.                           The government has verified that

Handschumacher personally participated in thefts resulting in losses of

cryptocurrency valued at over seven million dollars (valued on the date of theft). 4

The charts below document the losses of each of these thefts, valuing the stolen

cryptocurrencies both on the date of the theft and on the date of Handschumacher’s

guilty plea (October 18th, 2019). 5

           Victim S.B. (Date of theft: 05/03/2018)

    Cryptocurrency Amount                             Value: 5/03/18            Value: 10/18/19
    Ethereum       1242                               $974,150.28               $221,299.56
    Dash           9043.56835                         $4,623,886.06             $627,352.34
                                                      $5,598,036.34             $848,651.90

Victim D.M. (Date of theft: 05/15/2018)

    Cryptocurrency           Amount                   Value: 5/15/18            Value: 10/18/19
    Ethereum                 12.4980121               $9,236.66                 $2,226.90
    Metal                    920.938262               $3,913.99                 $295.55
    Polymath                 86,753.34                $103,236.48               $2,275.11
                                                      $116,387.12               $4,797.56

4
 Stolen funds were split between co-conspirators. But a victim’s loss, not a defendant’s gain, is the proper measure
of loss under the guidelines. USSG § 2B1.1 cmt. n. 3 (2018).
5
    Cryptocurrencies are valued at the maximum U.S. dollar value reached on the relevant dates

                                                          6
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Victim S.S. (Date of theft: 05/16/2018)

 Cryptocurrency      Amount             Value: 5/16/18      Value: 10/18/19
 Bitcoin             70.01              $595,675.18         $569,770.08
 Ethereum            1274.5             $905,149.90         $227,090.41
 Dash                13.63              $5,851.63           $945.51
 Litecoin            157.67             $22,176.29          $8,678.16
 Polymath            209997             $220,496.85         $5,507.17
 WAX                 499999             $169,631.66         $12,902.47
 RChain              4793               $7,716.73           $134.73
 LOCIcoin            40746              $5,345.02           $40.30
                                        $1,967,146.57       $827,141.32

III.   Restitution

       The Government will submit a proposed order requesting that that the Court

order restitution pursuant to Handschumacher’s Rule 11 agreement. That agreement

obliges him to pay victims restitution in the amount of the higher of two values: the

value of the stolen cryptocurrency on the date of the theft, or its value on the date of

his guilty plea.

       In each instance in which the government has linked Handschumacher to a

documented cryptocurrency loss, the value on the date of theft was greater than the

value on the date of Handschumacher’s plea (i.e., the value of the stolen

cryptocurrency has dropped).       Therefore, pursuant to the Rule 11 agreement

Handschumacher is obligated to pay the following restitution:

       Victim S.B.: $5,598,036.34

       Victim D.M.: $116,387.12

       Victim S.S.: $1,967,146.57
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IV.   Forfeiture

      The United States seeks to forfeit the following assets (“Subject Assets”)

from Handschumacher as proceeds of the crime to which he has pleaded guilty,

pursuant to 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c):

         a) 38.06185149 Bitcoin seized from Ricky Handschumacher

            (approximate value of $309,762.95 as of October 18, 2019);

         b) 900.46813354 Ethereum seized from Ricky Handschumacher

            (approximate value of $160,445.41 as of October 18, 2019);

         c) 2017 Ford F-250 Platinum, VIN Number 1FT7W2BT4HEB32435;

         d) 2018 Polaris Ranger XP All-Terrain Vehicle, VIN Number

            3NSRTA871JG978010; and,

         e) 2019 Polaris Highlifter RZRX All-Terrain Vehicle, VIN Number

            3NSVFM99XJF945262.

      Handschumacher agreed to forfeit his interest in the Subject Assets in his

Rule 11 plea agreement. (Dkt. # 247). A Preliminary Order of Forfeiture was

entered forfeiting the aforementioned assets from Handschumacher on May 27,

2020. (Dkt. # 82).




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V.    Guidelines Range

      The government has calculated that Handschumacher’s sentencing guidelines

call for a term of imprisonment of 78 – 97 months. The defendant does not dispute

this range.

      This guideline range is based on a Base Offense Level of 7 (Guideline §

2B1.1) with the following undisputed enhancements:

          • Loss of $3,500,000 or more, less than $9,500,000 (2B1.1(b)(1)) (+18);

          • Ten or more victims (2B1.1(b)(2)(A)(i)) (+2);

          • Sophisticated Means (2B1.1(b)(10)(C)) (+2); and

          • Use of an illicit authentication feature (2B1.1(b)(11)(ii)) (+2).

      This results in an Adjusted Offense Level of 31.              The government

acknowledges that Handschumacher has accepted responsibility for his crimes, and

thus has reduced the Offense Level Total by three points to 28.

      Defendant has no criminal history, which results in a Guideline Range of 78

to 97 months of imprisonment and a Fine Guideline Range of $25,000 to $250,000.

The government is not requesting that the Court impose a fine because of the

significant amount of mandatory restitution.




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 VI.   Sentencing Factors

       Title 18, United States Code, Section 3553(a), sets forth a number of factors

 the Court shall consider in sentencing the defendant. These factors are described

 below, numbered as corresponding to Section 3553(a):

       (1) The nature and circumstances of the offense…

       Defined by financial loss alone, Handschumacher’s crimes are dramatic. He

 has acknowledged participating in thefts of cryptocurrency valued at over seven

 million dollars.

       But the damages extend beyond dollars. It is noteworthy that

 Handschumacher’s victims are individuals, as opposed to corporations. Not only

 does financial loss to an individual victim potentially cause greater harm than an

 equal loss to a corporate entity, but individual victims face collateral consequences

 as result of the type of crime committed by the defendant.          Identity theft is

 pernicious. Reestablishing control of online accounts, restoring credit ratings,

 recovering from reputational damage (both personal and business related) take time,

 effort, and often money. The collateral consequences of losing control of one’s

 email, online storage, social media, and financial accounts can linger for years.

       …and the history and characteristics of the defendant;

       Handschumacher engaged in deliberate and repeated criminal activity. This

 was not a crime of impulse; Handschumacher continued to take part in a long-


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 running, multi-million-dollar conspiracy despite the fact that he could have

 withdrawn at any time. His criminal activity continued even after he and co-

 conspirators stole over five-million dollars in cryptocurrency in a single SIM

 hijacking attack.

         Handschumacher’s crimes were motivated purely by greed. He was not

 driven to crime by dire financial straits. He is an intelligent, capable individual, and

 at the time of his crimes he was working full time as a municipal employee. As a

 savvy and sophisticated computer user, Handschumacher was aware of the damage

 he was causing his victims. Any claim to the contrary would be incredulous. He

 knew that havoc he was wreaking—and didn’t care.                                 Lining his pockets and

 purchasing luxury goods—including a $75,000 pickup truck—was more important

 to him than the damage done to his victims.

         The government acknowledges that, since caught, Handschumacher has

 appeared contrite and remorseful. 6 But this change of heart, assuming it is genuine,

 is too late for his victims and should not impact his sentence beyond the three-point

 guideline adjustment for acceptance of responsibility recommended by the

 government.




 6
   The government also acknowledges that the defendant attempted to cooperate by providing information in proffers
 that took place in the Eastern District of Michigan and in the District of South Carolina. Ultimately, however, no
 information provided by the defendant was actionable, and thus the government is not seeking a guidelines reduction
 for cooperation.

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       The defendant’s age is also relevant to his sentencing. Handschumacher is

 now 27; at the time of his crimes, he was 25. While far from being an old man, the

 defendant was significantly older than his co-conspirators—many of whom were

 teens and several of whom were minors. Handschumacher was not a socially

 maladjusted teen-recluse. At the time of his crimes, he was a former all-state athlete,

 with a steady job, a stable relationship, and a child. Relative to his co-defendants,

 Handschumacher’s comparative maturity should be taken to account when

 evaluating his culpability and fashioning his sentence.

       (2) The need for the sentence imposed (A) to reflect the seriousness of
 the offense, to promote respect for the law, and to provide just punishment for
 the offense; (B) to afford adequate deterrence; (C) to protect the public from
 further crimes of the defendant; and (D) to provide defendant with
 appropriate education or vocational training.

       Handschumacher’s punishment should take into account not only the scope

 and seriousness of his criminal conduct but also the need to deter future crimes—

 both by Handschumacher and by others. With respect to specific deterrence,

 Handschumacher obtained a significant sum of money from his crimes.

 Commensurately significant incarceration is therefore necessary to demonstrate to

 him the proverbial mantra that “crime does not pay.”

       The sentence must also function as a general deterrent. This is an especially

 relevant consideration in this case—computer crimes are difficult for the

 government to police, and cause billions of dollars in damages each year. Convicted


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 computer criminals should therefore face severe penalties as a deterrent to other

 potential offenders.

       Computer intrusions and identity thefts often go undetected. Victims also

 frequently fail to report them. When computer crimes are brought to the attention

 of law enforcement, enormous resources are required to identify and pursue those

 responsible. Computer intrusions are also becoming more common, and they are

 doing more damage than ever. The FBI’s Internet Crime Complaint Center (IC3)

 2019 Computer Crime report tallied losses in excess of $3.5 billion from over

 450,000 complaints of suspected internet crime. In 2020, reported losses exceeded

 $4.1 billion from a record 791,790, complaints. CipherTrace, a computer forensics

 company focused on cryptocurrency, estimated global losses from cryptocurrency

 theft in 2019 at $4.52 billion—up 160% from losses in 2018.

       In our increasingly connected world, every citizen is exposed to computer

 crime. As more of our social lives and finances migrate online, each of us has more

 and more to lose. This is happening at the same time that committing computer

 crime is becoming easier—the necessary skills are increasingly common, and online

 tutorials make it simple for even those with rudimentary knowledge to do

 tremendous damage.      Stemming this tide is beyond the power of criminal

 prosecutions alone, but law enforcement and the courts have a role to play. This




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 Court should therefore consider general deterrence as a significant factor in

 sentencing the defendant.

       (3) The kinds of sentences available

       Under 18 U.S.C. § 1349 (Attempt and Conspiracy), the maximum sentence is

 linked to the underlying offense, in this case 18 U.S.C. § 1343 (Wire Fraud). The

 maximum penalty is therefore twenty years imprisonment and/or a fine not to exceed

 $250,000.00.

       (4) The sentencing range established by the Guidelines

       As set forth above in Section IV, the appropriate sentencing range, pursuant

 to the U.S. Sentencing Guidelines is 78 to 97 months imprisonment. The range is

 based on an Adjusted Offense Level of 31 and a three-level adjustment for

 acceptance of responsibility, making his Total Offense Level 28. Handschumacher’s

 criminal history is Category I.

       (5) Pertinent policy statements issued by the Sentencing Commission

       The government is unaware of any pertinent policy statement issued by the

 United States Sentencing Commission.

       (6) The need to avoid unwarranted sentencing disparities among
       defendants with similar records found guilty of similar conduct

       Prior to the instant case, the government is aware of no federal defendant

 being sentenced for crimes connected to SIM hijacking. However, a sentence



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 handed down by a state court in California is comparable to the penalty that the

 government seeks here.

       Joel Ortiz, defendant in Santa Clara County (California) Superior Court Case

 No. C1894831, pleaded guilty to SIM hijacking crimes identical in nature to those

 committed by Handschumacher. Ortiz, in fact, participated with Handschumacher

 in the thefts from S.B., D.M. and S.S. The judge in that case assumed a loss of

 approximately $7.6 million dollars, and sentenced Ortiz to ten years in prison. Ortiz

 was not granted credit, however, for either acceptance of responsibility or

 cooperation.

       This Court has already sentenced two of Handschumacher’s co-defendants,

 Reyad Abbas and Colton Jurisic. Both of these defendants were sentenced to below

 guidelines terms of imprisonment. The government notes, however, that each of

 these defendants were 18 years old at the time of their crimes. As pointed out above,

 however, Handschumacher was 25 years old and thus considerably more mature.

       (7) The need to provide restitution

       Restitution is mandatory in this case, as dictated by the Mandatory Criminal

 Restitution Act codified at 18 U.S.C. § 3663A. The necessary restitution in this case

 is described above in Section III.




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                              RECOMMENDATION

       The government recommends that defendant Ricky Handschumacher be

 sentenced to a term of 88 months in prison followed by three years of supervised

 release. For the reasons stated herein, the government believes that this sentence is

 necessary to fulfills the aims of 18 U.S.C. § 3553(a). As described above, the focus

 of the government is on the nature and circumstances of the offence, the history and

 characteristics of the defendant, and the need for deterrence.

       The government also requests that restitution and forfeiture be ordered as

 described above in Sections III and IV.


                                                Respectfully submitted,

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